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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,      Case No. 1:20-cv-03010-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,      Case No. 1:20-cv-03715-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.




           PLAINTIFFS’ REMEDIES RESPONSIVE POST-TRIAL BRIEF
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                         ABBREVIATIONS

   GenAI                       Generative Artificial Intelligence

    GSE                               General Search Engine

     IE                                 Internet Explorer

    ISA                   Information Services Agreement (for Apple)

    LLM                               Large-Language Model

    OEM                       Original Equipment Manufacturer

    PFOF                          Proposed Findings Of Fact

    SCA                          Stored Communications Act




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                                       INTRODUCTION

       Google—like any monopolist—is content with the status quo and benefits from

continuing its market dominance. To that end, Google’s proposed remedies are intended to keep

the world largely as it exists today. If Google can maintain the status quo during the remedies

period, with only minimal restrictions to its contracting practices, then it will be able to maintain

its accrued monopoly power both during and after the remedial period. Google’s flawed

approach to remedies is: If we pretend nothing is wrong, we don’t need to fix it.

       Plaintiffs, on the other hand, have proven that Google’s illegal conduct has broken the

general search and general search text ads markets. Unfreezing the ecosystem and restoring

competition is not going to happen overnight, but the longer it takes, the greater rewards Google

will continue to reap. During the remedies trial, Plaintiffs demonstrated that comprehensive

remedies working together are needed to address Google’s unlawful monopoly maintenance in

the affected markets, which denied rivals distribution and scale, harming the competitive

process. And remedies must account for Google’s incentive and ability to circumvent them. In

their post-trial filings, Plaintiffs explained—based on the record evidence—how Google would

likely aim to circumvent any final remedy by, for example, extending its unlawful distribution

practices to new search access points such as GenAI products, see, e.g., Pls. Br. Arg. § I.A.3.

       Google refuses to grapple with the trial facts or the Court’s prior findings that point to the

need for strong remedies. Instead, Google contorts the law and market realities to fit its desired

outcome—the status quo. Precedent does not support Google’s tortured reading of causation and

“but-for” worlds for Section 2 remedies. Plaintiffs’ proposed remedies, by contrast, target the

harm the Court found, seeking to unfetter the monopolized markets, deny Google the fruits of its

violation, and ensure that there remain no practices likely to result in future monopolization.




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                                          ARGUMENT1

I.     Google Misstates The Law And Objectives Of Plaintiffs’ Proposed Remedies

       There are four objectives in a remedies decree: to “unfetter a market from anticompetitive

conduct,” “terminate the monopoly, deny to the defendant the fruits of its statutory violation, and

ensure that there remain no practices likely to result in monopolization in the future.” United

States v. Microsoft Corp., 253 F.3d 34, 103 (D.C. Cir. 2001) (en banc) (Microsoft III) (citations

omitted). The Court should enter all of Plaintiffs’ proposed remedies because they work together

to achieve these ends as applied to the circumstances of this case.

       Google argues there can be only one remedial objective in this case: stopping “the

exclusionary acts and practices related thereto which served to illegally maintain the monopoly.”

ECF No. 1347 (Def. Br.) at 4 (citing New York v. Microsoft Corp. (New York I), 224 F. Supp. 2d

76, 101 (D.D.C 2002)). Google’s flawed view would, in effect, prevent courts from achieving

any goals other than excising the exact exclusionary contract terms, despite the clear mandate

that each of the remedial objectives be achieved to the extent appropriate in light of the facts.

Def. Br. at 5 (citing New York I, 224 F. Supp. 2d at 101). Google attempts to reach this hollow

result by reframing the goal of Plaintiffs’ remedies as termination of the monopoly altogether.

Def. Br. at 4–7, 53–54. Contrary to Google’s assertion, Plaintiffs’ proposed ban on distribution

payments does not rest on the termination objective because it does not seek to “complete[ly]

extirpat[e]” Google’s monopoly, e.g., by breaking up Google Search into multiple competing

companies. United States v. United Shoe Mach. Corp., 391 U.S. 244, 251 (1968). Rather, it

serves the independent objectives of unfettering the market from Google’s conduct, denying



1 Plaintiffs do not waive any arguments by failing to address them in this page -limited response

and rely on the legal and factual statements contained in their initial post-trial brief and proposed
findings of fact. ECF No. 1348 (Pls. Br.); see also ECF No. 1349 (Pls. PFOF).

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Google the fruits of its unlawful conduct, and preventing a recurrence of the violation. See Pls.

RPFJ § IV. Google’s attempt to ascribe an incorrect purpose to Plaintiffs’ remedies does not

make it true.

       More fundamentally, Google’s argument stretches New York I beyond logic or reason.

New York I does not categorically bar termination remedies in monopoly maintenance cases. The

Court there simply concluded that termination “does not seem to be a valid objective” in “the []

circumstances” at issue. 224 F. Supp. 2d at 101–02. Most importantly, New York I did not—and

could not—overturn United Shoe, which ordered the district court to consider a termination

remedy in a monopoly maintenance case despite the absence of a showing of but-for causation.

391 U.S. at 251; United States v. United Shoe Mach. Corp., 110 F. Supp. 295, 307, 339–41, 344–

45 (D. Mass. 1953). If the Court wishes, it would be fully justified in terminating the aspects of

Google’s monopoly that the Court finds sufficiently causally connected to Google’s

anticompetitive conduct. See United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377,

393–94 (1956) (for the purposes of analysis under Section 2, equating “having a monopoly” with

“having monopoly power”). But this rationale is not the basis for Plaintiffs’ proposed remedies

and, as a result, the Court need not consider Google’s argument further.

II.    Scope Of Permissible Remedies

       A.       Remedies Can Exceed Narrow Injunctions Against The Same “Type” Of
                Conduct Found Unlawful

       Google baselessly challenges nearly every remedy Plaintiffs propose as violating

guidance that remedies should be “tailored to fit the wrong creating the occasion for the

remedy.” Def. Br. at 7 (quoting Microsoft III, 253 F.3d at 107). Google interprets the “tailoring”

requirement to permit no more than narrow injunctions against the same “type” of conduct found

unlawful. But a remedy is properly tailored if it is a “reasonable means” of achieving a remedial



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objective. United States v. Crescent Amusement, 323 U.S. 173, 188 (1944); see also

Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1216 (D.C. Cir. 2004) (relief “must represent

a reasonable method of eliminating the consequences of the illegal conduct” (cleaned up)). As

Plaintiffs have explained, Microsoft III’s objectives support their proposed remedies, which are

appropriately tailored to Google’s conduct and the barriers erected to protect its monopolies. See

generally Pls. Br. Arg. §§ I–IV.

       Google’s reliance on Microsoft III for its tailoring proposition is especially misplaced. In

the subsequent Massachusetts appeal, the D.C. Circuit endorsed remedies requiring Microsoft to

engage in affirmative conduct even though the prior non-performance of that conduct “played no

role in [the] holding [that] Microsoft violated the antitrust laws.” 373 F.3d at 1215 (emphasis

added). For example, Massachusetts endorsed remedies that went “beyond the . . . decision on

liability” because they were “‘a reasonable method’ of facilitating the entry of competitors into a

market from which Microsoft’s unlawful conduct previously excluded them.” Id. at 1218; accord

Pls. Br. Legal Framework § I.C. In this case, Plaintiffs’ remedies are even more fitting because

they facilitate entry directly into the monopolized markets.2

       B.      Plaintiffs’ Detailed Remedy Provisions Are Not Vague

       Google’s scattershot assertions that various Plaintiffs’ RPFJ provisions are vague miss

the mark. As an initial matter, Plaintiffs’ proposed remedies are not the final order and should be




2 Google also claims that all remedies must be “of the ‘same type or class’ as the violations.”

E.g., Def. Br. at 49 (quoting United States v. Microsoft Corp. (Microsoft I), 56 F.3d 1448, 1460
(D.C. Cir. 1995)). Microsoft I merely prohibits injunctions against forms of conduct that “bear no
relationship” to the conduct found unlawful or ban “all future violations of the antitrust laws,
however unrelated to violations found by the court.” 56 F.3d at 1460 (quoting Zenith Radio
Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 132–33 (1969)). Plaintiffs’ remedies, by
contrast, all pertain to search-distribution agreements or the harms or fruits of Google’s unlawful
search-distribution agreements.

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read together with the Court’s final opinion on remedies. Rule 65(d) requires that the Court (not

Plaintiffs) provide “reasonable” (not exhaustive) detail, Fed. R. Civ. P. 65(d), “especially when

read in the context of the district court’s legal conclusions and [] findings of fact.” United States

v. Philip Morris USA Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009) (upholding injunction); see also

Eli Lilly & Co. v. Arla Foods, Inc., 893 F.3d 375, 385 (7th Cir. 2018) (remedy was “sufficiently

definite, especially when considered in the context of the rest of the order”).3 The Court intends

to issue a remedies opinion together with any final order, and—Plaintiffs submit—their proposed

order is highly specific and detailed such that it could be readily adopted by this Court.

       Google also complains that some technical requirements will be elaborated later with the

help of the Technical Committee, Def. Br. at 1–3, 72–73, but that process will only increase the

specificity of the injunction. It is both permissible and advisable for a technical committee to aid

in filling in details about the “practical workings” of a decree. Massachusetts, 373 F.3d at 1244.

Google also objects to the fact that certain provisions of Plaintiffs’ RPFJ use standards to

describe the acts required or prohibited. See, e.g., Def. Br. at 43, 65–66, 72–73. But Plaintiffs

“need not describe every combination of circumstances and behaviors that may or may not create

a violation.” N. Tex. Specialty Physicians v. FTC, 528 F.3d 346, 372 (5th Cir. 2008) (noting that

the government “must be allowed effectively to close all roads to the prohibited goal”). Nor must

the Court give Google “explicit instructions on the appropriate means to accomplish [its]

directive[s].” Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1087 (9th Cir. 2004).



3 Tellingly, Google never discusses the facts of its vagueness authorities, all of which are far

afield from this case. See Int’l Longshoremen’s Ass’n, Loc. 1291 v. Phila. Marine Trade Ass’n,
389 U.S. 64, 74, 76 (1967) (Court’s order to comply with an arbitral award containing no
“operative command” “can only be described as unintelligible” and “defies comprehension”);
Common Cause v. Nuclear Regul. Comm’n, 674 F.2d 921, 926 (D.C. Cir. 1982) (injunction
against closing certain agency meetings did nothing, even read in context, to “ identify the
characteristics” of the covered meetings).

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       C.     Plaintiffs’ Remedies Are Not “Central Planning”

       Antitrust remedies are law enforcement, not regulation. Plaintiffs propose a

comprehensive decree because Google committed extensive violations of the antitrust laws that

harmed competition, requiring robust remedies to address Google’s conduct and its effects.

Having failed to show that Plaintiffs’ proposed remedies are impermissibly vague, Google next

argues the opposite: that Plaintiffs’ remedies impose “extensive regulation” and “[e]xtensive

[c]entral [p]lanning” through a “highly detailed decree.” Def. Br. at 51, 67, 75. Google’s

argument is misplaced. Beyond one errant argument regarding the 1986 Stored Communications

Act (“SCA”),4 Google never explains why Plaintiffs’ remedies “contemplate an exercise of

regulatory power.” Def. Br. at 44. This is because Google cannot. The decree does not dictate the

price, quality, quantity, or other features of a GSE that a central planner would control —it

restores competition to let the free market make those determinations. Rather than ask the Court

to engage in “policymaking,” Def. Br. at 46, Plaintiffs merely ask the Court to “enforc[e] a

policy of competition” with which “Congress tasked courts” via the Sherman Act. Nat’l

Collegiate Athletic Ass’n v. Alston, 594 U.S. 69, 73 (2021).

       After critiquing Plaintiffs’ remedies as a form of “central planning” 5 Google erroneously

implies that Verizon Commc’ns Inc. v. Law Office of Curtis V. Trinko, LLP, 540 U.S. 398 (2004),


4 Not convinced by its own argument, Google speculates that the SCA “may” prohibit Plaintiffs’

proposed data sharing remedies. Def. Br. at 46. The SCA applies only if Google Search is (1) an
“electronic communication service” or (2) a “remote computing service” holding the relevant
search and ads data “on behalf of” users and advertisers. 18 U.S.C. §§ 2510(15), 2711(1)–(2),
2703(a), 2703(b)(2). Google Search is neither an “electronic communication service” nor a
“remote computing service.” Orin S. Kerr, The Next Generation Communications Privacy Act,
162 U. Pa. L. Rev. 373, 396–97 (2014). Furthermore, Google keeps search and ads data for its
own benefit, not as an agent or representative of each individual user and advertiser.
5 Google’s factual premise that the Court would need to be involved extensively in planning

syndication agreements is also wrong. The Court need look no further than Google’s agreement
with Yahoo Japan. Plaintiffs’ syndication and index -sharing provisions are patterned on this


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bars Plaintiffs’ data access and syndication remedies. Def. Br. at 44–45. But Trinko addresses

antitrust liability and is not applicable here. Google identifies no authority holding that remedies

are subject to the Section 2 liability standard for refusals to deal with rivals, because it cannot.

To the contrary, courts often impose affirmative obligations as remedies for antitrust violations

that might be considered duties to deal in other contexts. See, e.g., Optronic Tech., Inc. v. Ningbo

Sunny Elec. Co., 20 F.4th 466, 486 (9th Cir. 2021); Massachusetts, 373 F.3d at 1215 (upholding

an injunction requiring Microsoft to disclose APIs and communications protocols); United States

v. Glaxo Grp. Ltd., 410 U.S. 52, 62 (1973) (requiring mandatory sales of antibiotic compound on

non-discriminatory terms and mandatory licensing of patents to competing manufacturers at

reasonable-royalty rates); Ford Motor Co. v. United States, 405 U.S. 562, 576–77 (1972)

(requiring Ford to purchase half its spark plugs from divested company for five years).

       D.      Plaintiffs’ Remedies Are Well Supported By Sufficient Causation

       Plaintiffs’ remedies are all supported by this Court’s finding of significant causation,

which is enough for any remedy under any plausible causation standard. Pls. Br. Legal

Framework § II. Google wrongly contends that but-for causation is required for any remedy

other than a narrow injunction. Under Google’s meritless and self-serving approach, the longer

term the illegal conduct, the less susceptible it is to a remedy. This cannot be the case.

               1.      Google Misunderstands Section 2’s Causal Inquiry

       Google sensationalizes this Court’s reliance on “inference” in some parts of its liability

opinion. Def. Br. at 7, 12, 18–19, 54. Causation can be proven through circumstantial evidence

involving bare inference. But here, the Court found that Google’s conduct “significantly

contributed” to the maintenance of Google’s monopoly power based in part on concrete evidence


agreement to syndicate search results, answer synthetic queries, and share information regarding
Google’s search index. Pls. PFOF ¶¶ 593–94; 752–53, 763–76.

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of effects in the relevant market. Mem. Op. at 109–11 (FOF ¶¶ 313, 317, 319–20), 118 (FOF

¶ 347), 121–22 (FOF ¶ 359), 123 (FOF ¶ 365), 125–27 (FOF ¶¶ 369–74); Pls. Br. Legal

Framework § II.A; Pls. PFOF ¶¶ 236–46. This Court thus did not rely on just bare inference—

which is permitted in liability—that the conduct “‘reasonably appears capable of making a

significant contribution to . . . maintaining monopoly power,’” Microsoft III, 253 F.3d at 79

(quoting Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 651c (3d ed. 1996)), as

Google claims. Indeed, this Court’s findings establish a far clearer causal connection than in

Microsoft III, where Microsoft’s conduct was “aimed at producers of nascent competitive

technologies” outside the operating-system market it monopolized. Id.; accord Pls. Br. at 10 n.1.

Here, the Court found Google’s conduct harmed competition within each of the relevant markets.

       Even further, Google misreads Microsoft III to impose a “more stringent” causation

standard for remedies than for liability. E.g., Def. Br. § III.A.1. Whether assessing liability or

remedies, causation always requires assessing the extent to which the evidence shows a

“significant contribution” or, put differently, a “significant causal connection” between the

challenged conduct and the maintenance or acquisition of the monopoly. Microsoft III, 253 F.3d

at 79, 106 (emphasis altered). What can change is “the strength of the evidence” required to

demonstrate significant causation. New York I, 224 F. Supp. 2d at 103. For liability, as well as

some remedies, evidence that the conduct “reasonably appear[s] capable” of significant causation

suffices; while other remedies require a “clearer indication” of significant causation.

Microsoft III, 253 F.3d at 79, 106; Pls. Br. Legal Framework § II.B. Here, Plaintiffs have shown

a clear indication of significant causation in support of all their proposed remedies. Pls. Br. Legal

Framework § II.A; RPFOF ¶¶ 1010, 1019, 1024, 1027.

               2.      New York I And Microsoft III Both Reject But-For Causation

       Google also claims that Microsoft III and New York I require but-for causation for any


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remedies beyond a narrow injunction. Def. Br. at 5–6. Interpreting Microsoft III, New York I

directly rejects this argument. Most obviously, New York I confirms that a but-for requirement

conflicts with Microsoft III because it demands “precisely what the appellate court deemed to be

largely unattainable.” New York I, 224 F. Supp. 2d at 147 (quoting Microsoft III, 253 F.3d at 79

(“[N]either plaintiffs nor the court can confidently reconstruct a product’s hypothetical

technological development in a world absent the defendant’s exclusionary conduct.”)). A but-for

causation requirement also conflicts with the clear implications of Microsoft III’s remand

instructions. Before Microsoft III, “the district court had already determined as a factual matter

that there was ‘insufficient evidence to find [but-for causation].’” Id. at 147–48. The D.C. Circuit

“was well aware of this finding” yet remanded for further remedy proceedings without any

“indicat[ion] that Plaintiffs must overcome [that finding] in order to obtain a remedy exceeding a

mere proscription of the illegal conduct.” Id. at 148 (citing Microsoft III, 253 F.3d at 107).6

       New York I’s subsequent analysis of specific remedies confirms that but-for causation is

not required, even for robust remedies. New York I explained that the plaintiffs had not proven

but-for causation during liability, id. at 101, and did “not offer additional evidence regarding a

causal link” at the remedy phase, id. at 244. Nonetheless, New York I imposed “generous”

remedies that (1) “exceed[ed] a mere proscription of the precise conduct found to be

anticompetitive,” id. at 193–94; (2) were “forward-looking in the parameters of the relief

provided,” id. at 193; (3) were “crafted to foster competition in the monopolized market,” id.;

and (4) denied Microsoft the fruits of its conduct, Massachusetts, 373 F.3d at 1232–33.

       Google highlights the only instance where New York I discusses a remedy with reference



6 Ironically, Google claims support from the fact that Microsoft III observed the lack of evidence

for but-for causation. Def. Br. at 4–5, 23 (quoting Microsoft III, 253 F.3d at 107). New York I
shows how Google’s inference from that observation is exactly backward.

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to what would have happened “but for” Microsoft’s anticompetitive conduct—misleadingly

referring to that instance as an “example.” Def. Br. at 6, 38 (quoting New York I, 224 F. Supp. 2d

at 262). The remedy under consideration would have required Microsoft to distribute a specific

rival product, Java. New York I, 224 F. Supp. 2d at 260. Google’s argument relies on the court’s

findings of fact about how Java would have fared but for Microsoft’s conduct. Def. Br. at 6, 38

(quoting New York I, 224 F. Supp. 2d at 262). But as Massachusetts (unlike Google) accurately

notes, New York I’s memorandum opinion rejected the remedy because it “‘single[d] out [a]

particular competitor[] and anoints [it] with special treatment not accorded to other competitors

in the industry.’” 373 F.3d at 1231. That reasoning has nothing to do with causation and is

inapplicable to Plaintiffs’ remedies, which promote competition, not a particular competitor.7

               3.      Massachusetts Rejects But-For Causation

       Google supports its but-for demands by misconstruing the innocuous observation in

Massachusetts that “the fruits of a violation must be identified before they may be denied.” Def.

Br. at 6 (quoting 373 F.3d at 1232). Plaintiffs and the Court have already identified the fruits of

Google’s unlawful conduct, which include scale, data, and suppressed competition and

innovation in the marketplace that will sustain themselves for years unless remedied. E.g., Pls.

Br. at 3, 5, 20 n.4, 23–24, 28, 36, 51. Unsatisfied, Google demands Plaintiffs isolate the portion

of those fruits Google would have lost but for its anticompetitive conduct. Def. Br. at 6, 37 –39,




7 Google also cites a footnote in New York I finding that IE was not a “fruit” because the

evidence failed to “‘establish[] that the present success of IE is attributable entirely, or even in
predominant part, to Microsoft’s illegal conduct.’” Def. Br. at 23, 39 (quoting New York I, 224 F.
Supp. 2d at 185 n.81). But even in the context of this de facto divestiture, New York I looked
only for attribution, not but-for causation, and assessed only whether the “present success of IE,”
not IE as a whole, was attributable to the illegal conduct. 224 F. Supp. 2d at 185 n.81; see also
id. at 244 n.121 (“Plaintiffs did not offer any testimony in the remedy phase to establish that IE
was the ‘fruit’ of the anticompetitive conduct affirmed by the appellate court.”).

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48–49. Massachusetts rejects this approach, explaining that the plaintiff need only show that “at

least some” of the fruits disgorged are attributable to the defendant’s conduct. 373 F.3d at 1232.

To require more would flout the D.C. Circuit’s instruction that “‘the defendant [be] made to

suffer the uncertain consequences of its own undesirable conduct.’” Microsoft III, 253 F.3d at 79

(quoting Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 651c (3d ed. 1996)).8

         Finally, Google misreads a portion of Massachusetts affirming the (discretionary) denial

of “web service” remedies, implying that Massachusetts affirmed that decision because web

services had contributed to the applications barrier “only in part.” Def. Br. at 23, 38 (quoting 373

F.3d at 1226). To the contrary, the web-service remedies were denied because both (1) the

remedies were likely to “harm[] consumers” and (2) web services had played no role in raising a

barrier to entry or even in contributing to liability more generally. Massachusetts, 373 F.3d

at 1225–26. Meanwhile, New York I and Massachusetts each approved pro-competitive

“server/network computing” remedies even though they (like web services) played no role in

liability. Id. at 1222–26; New York I, 224 F. Supp. 2d at 129–30.

III.     The Distribution Remedies Are Tailored To Address The Anticompetitive Effects Of
         Google’s Unlawful Conduct

         A.     Payment Bans Will Reduce Barriers And Prevent Foreclosure

         Plaintiffs’ proposed payment bans are “a reasonable method of eliminating the

consequences of [Google’s] illegal conduct” and “facilitating the entry of competitors into [the

relevant markets] from which [Google’s] unlawful conduct previously excluded them.”




8 The latest update to the same treatise that Microsoft III cited continues to offer helpful guidance

on how this Court should select remedies: “[A]t the least, equitable relief properly goes beyond
merely ‘undoing the act’; the proper relief is eradicating all the consequences of the act and
providing deterrence against repetition; and any plausible doubts should be resolved against the
monopolist.” Areeda et al., Antitrust Law ¶ 653f (5th ed. 2022).

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Massachusetts, 373 F.3d at 1216, 1218 (cleaned up); Ford, 405 U.S. at 578. Moreover, they

prevent the likely recurrence of Google’s monopolization through alternative contractual

arrangements that allow Google to share a portion of its monopoly rents as a payoff to freeze the

ecosystem. Absent the bans, Google can perpetuate its control over the most efficient channels of

distribution by outbidding rivals for every significant search default. See Pls. Br. Arg. § I.A.1.

Google misguidedly argues that the payment bans improperly “threaten to interfere with ordinary

and legitimate commercial practices inherent in Google’s participation in the industry.” Def. Br.

at 54 (quoting New York I, 224 F. Supp. 2d at 137) (cleaned up).

       First, with respect to Apple, this Court concluded that, separate and apart from

exclusivity, the billions of dollars that Apple received from Google under the ISA

“unquestionably . . . disincentivize[d] Apple from launching its own search engine when it

otherwise has built the capacity to do so.” Mem. Op. at 242. Google ignores this portion of the

Court’s opinion, which in and of itself supports a complete ban on search-related payments to

Apple. See Pls. PFOF § V.D.2. Section IV.B and IV.E directly address this anticompetitive

conduct and its effects. See United States v. Google LLC, No. 25-5016, 2025 WL 880552, at *3

(D.C. Cir. Mar. 21, 2025) (“[I]t was quite likely that plaintiffs would pursue an order enjoining

revenue sharing between Google and Apple (and not just such payments as were tied to the ISA

provisions protecting Google’s default placement).”).

       Second, and more broadly, Google’s reliance on New York I is misplaced. Google relies

on the New York I court’s rejection of a sweeping ban on “adverse actions” supporting

competing products, which would have prohibited Microsoft from compensating or giving

discounts to distribution partners for promoting or distributing Microsoft products. Def. Br. at

54–55. Neither New York I nor Massachusetts supports Google’s claim that payment bans should




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be rejected in this case, because the payment bans are tailored to redress the specific harm and

are narrower than the broad “adverse action” ban the states requested in New York I.

       In New York I the district court permitted Microsoft to continue compensating OEMs for

distribution of Microsoft products, including through discounting programs such as its Marketing

Development Program (MDP), provided such payments were offered on uniform, non-

discriminatory terms. 224 F. Supp. 2d at 164, 166. The court described these practices as

“routine” and “procompetitive,” observing that “the antitrust laws do not condemn even a

monopolist for offering its product at an attractive price.” Id. at 164–65 (quoting Microsoft III,

253 F.3d at 68). The court concluded that “so long as MDPs cannot be used to improperly

influence OEM choices—for example, through discriminatory or retaliatory terms or

enforcement—there remains little basis for objection to their use.” Id. at 166 (cleaned up). On

appeal, the D.C. Circuit found no abuse of discretion: “[w]ithout a clear indication that Microsoft

can or will use its discounts in a fashion that . . . ‘subverts’ the other provisions of the remedy,

we again refuse to condemn a practice that ‘offers the customer an attractive deal.’”

Massachusetts, 373 F.3d at 1227 (quoting Microsoft III, 253 F.3d at 68).

       Unlike in New York I and Massachusetts, the liability and remedies trial records here

make clear that permitting Google to make any payments, not just for exclusivity, can and will

subvert the remedy. In the general search and general search text ad markets, “[s]cale is the

essential raw material” for improving a GSE’s quality and per-query monetization. Mem. Op. at

139, 226; Pls. PFOF ¶¶ 712–13. Google’s exclusive contracts with distributors raised the scale

barrier by depriving rivals of scale and insulating Google from competition for queries, thereby

expanding Google’s scale-driven quality and monetization lead. Id. The facts underlying New

York I are distinguishable. Critically, when OEMs preinstalled IE on Windows PCs because of




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Microsoft’s unlawful conduct, it did not make rival middleware products like Netscape worse or

less monetizable through denial of scale. (It did, of course, deny Netscape access to a critical

distribution channel.) Microsoft III, 253 F.3d at 60–62. Given the different characteristics of the

general search market, namely the scale barrier, a payment ban in this case is both a reasonable

and necessary means of restoring competition and promoting entry , even though the same may

not have been true in New York I. Merely enjoining exclusivity while allowing Google to

continue to pay for defaults will not close the gap between Google and rivals in any meaningful

way on a reasonable timeline. See Pls. Br. Arg. §§ I.A.1, VI.

       This problem will persist if the final judgment allows Google to make search payments to

distributors, even if those payments are restricted. One such example would be allowing Google

to make unconditional revenue share payments to distributors (i.e., where Google pays any time

a Google search is issued from a third parties’ search access point). Even Google’s expert Prof.

Murphy agrees that Google would still win those contests not only in the short term but also in

the medium to long term. See Pls. Br. Arg. § I.A.1. Rivals would remain locked out, even if they

improved their quality with the help of the data and syndication remedies.

       Google laments that “Plaintiffs’ RPFJ even goes so far as to preclude Google from

paying to establish a search engine choice screen.” Def. Br. at 53. As Plaintiffs’ expert

Dr. Chipty explained, if Google could pay for choice screens, it would be expected to outbid

rivals, meaning rivals would again not win any significant defaults. Pls. RPFOF ¶ 1022. The

choice screen would then fail to create a real contest between Google and rivals because Google

would retain quality and brand advantages over rivals that are attributable to its anticompetitive




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conduct.9 See Pls. PFOF ¶¶ 912, 915; Pls. RPFOF ¶¶ 1022, 1024. In addition, for Apple, the

payments for a choice screen would continue to disincentivize entry . Pls. RPFOF ¶¶ 1030, 1037.

       Nowhere in its brief does Google answer the question the Court posed: If Google is

allowed to pay for defaults, how can any rival possibly compete with Google in the remedial

period? Google’s silence is both deafening and telling. The answer is simple. Today, no one can

compete for default payments in the face of Google’s unlawful conduct and the improperly

enhanced scale advantage and monopoly profits that conduct has conferred on Google.

       B.      Payment Bans Would Create Competition

       Because of its anticompetitive conduct, Google has not faced a real competitive threat

when bidding for search defaults over the years. See, e.g., Mem. Op. at 200 (“There is no

genuine ‘competition for the contract.’ Google has no true competitor.”). Google ignores that its

unlawful conduct has deprived distributors and consumers of the benefits of competition, instead

arguing it is Plaintiffs’ remedy proposal that will harm distributors and consumers.10


9 Only a payment ban consistent with Plaintiffs’ proposals can effectively eliminate the prospect

that Google would retain these advantages, prevent recurrence of the violation, and restore
competition to the relevant markets. For instance, there would be significant risk associated with
a hybrid payment ban imposed in the initial years followed by choice screens paid for by Google
in later stages of the remedial period because restoring competition requires competitors to have
made significant quality improvements with the help of the data and syndication remedies and
users to understand the realities of the new competitive landscape. In addition, any choice screen
would have to comply with the conditions detailed in Section IX.D of Plaintiffs’ RPFJ. In theory,
such a scenario could be implemented by authorizing only choice screen payments calculated
based on how many times the choice screen was displayed (instead of the number of searches
sent to Google), which would help reduce distributors’ incentives to design choice screens biased
in favor of Google. However, if implemented too soon or before competitive opportunities have
truly taken root, the early years of remedial progress would be erased, with Google regaining the
ability to once again prevent rivals from competing. The risk of doing too little is that the remedy
preserves the status quo and allows Google to continue to benefit from its past conduct and
extend its effects into the future. Pls. PFOF ¶ 235.
10 Google argues that there is no need for an anti-retaliation provision because it already had the

opportunity to bully one market participant—Mozilla—and did not. Def. Br. at 71–72. Yet, the
record reflects other companies who fear the very real possibility of retaliation. See Pls. Br. at


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       Google erroneously claims the payment bans present distributors with a “Hobson’s

choice” between setting Google as the default for no money or setting an inferior GSE as the

default for low payments. Def. Br. at 55. Instead, syndication and data sharing will give rivals

the inputs they need to improve quality in the short, medium, and long term. Pls. Br. Arg. § I.C.

(The distribution remedies will still be necessary to unlock distribution channels.) As Dr. Chipty

explained, although it is possible distributors will receive lower payments in the initial years of

the remedy, unleashing competition in the long-frozen general search market could result in

higher distribution payments in the long term. See Pls. PFOF ¶ 926; see also RPFOF ¶¶ 1051,

1057. Far from being a remedy with only “dubious benefits” that would “‘likely’” harm

consumers, the payment bans will ensure rivalry is born and consumers finally receive the

benefits of competition. Massachusetts, 373 F.3d at 1211–12. Unlocking paths to entry and

expansion that were foreclosed by unlawful conduct is far from a “dubious” benefit. Id. Google

myopically focuses on outcomes when it should focus on the competitive process, which is only

made stronger when more rivals can compete.

       Even if search distribution payments declined for some period, Google overstates the

potential impact of that reduction. First, Google has both the ability and incentive to continue

providing monetary support to Android partners for reasons other than search defaults, such as

its very profitable Play and YouTube apps. See Pls. RFPJ § IV.E; Pls. RPFOF ¶ 1044. In fact,

today, Google has agreements with some Android partners under which Google makes




65–67. It should be taken as little comfort that Google has chosen not to retaliate against some
distribution partners while this litigation and remedies trial were pending. The real question will
be what Google does after the remedies take effect. Furthermore, the Court should reject
Google’s contention that Plaintiffs’ anti-circumvention provisions are too broad and vague under
FRCP 65(d). Def. Br. at 72. Plaintiffs’ proposed remedies are supported by the factual record and
provide sufficient detail that is consistent with case law. See Pls. Br. at 27–28, 65–67, 73.

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significant payments to these partners without any search requirements. Pls. RPFOF ¶ 1044.

Furthermore, Plaintiffs’ remedy allows Android partners to continue earning payments from

Google on existing devices for up to a year, which will give those partners time to adjust. Pls.

RPFJ § IX.A. 11 Second, independent browsers other than Mozilla have generated many times

more revenue through browser ads than search distribution agreements. Pls. RPFOF ¶ 1040.

       Finally, Google cannot claim that the system is dependent on its monopoly rents to

oppose a remedy. On the contrary, dependence underscores the need for a remedy. The law

“foreclose[s] the argument that because of the special characteristics of a particular industry,

monopolistic arrangements will better promote trade and commerce than competition.” Nat’l

Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 689 (1978).

       C.      Choice Screens On Existing Android Devices And Google Devices And
               Browsers Will Work With Other Remedies To Help Restore Competition

       Google incorrectly relies on Microsoft III and New York I to oppose Plaintiffs’ choice

screen remedies. Def. Br. § III.G.1. However, choice screens on Pixel and other Google-

controlled technologies further several Microsoft III objectives, working together with Plaintiffs’

other proposed remedies that improve quality and distribution for competing search engines to

restore competition. Pls. Br. Arg. § I.A.4. Choice screens will help introduce some competition

to search access points that would otherwise always default to Google, specifically on existing

Android devices that were subject to the exclusionary contracts, on Google-controlled Pixel

phones, and on Chrome (until divested). Pls. RPFJ § IX.A; Pls. PFOF ¶¶ 906, 908. Allowing

users to take the simple step of selecting a general search provider from a properly designed

choice screen is a reasonable means of further opening general search to competition, and it will



11 Google offers only conclusory statements from Android partners that the price of Android

smartphones would increase. See, e.g., Def. PFOF ¶¶ 128, 140.

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put the choice back in consumers’ hands, where it belongs. RPFOF ¶¶ 1219, 1223.

        Google’s claim that the choice screens on existing Android devices are an “impermissible

monetary penalty” is also wrong. Def. Br. § III.G.2. The payment would be for Android devices

that have already shipped, so Google has already received the benefit of being the out-of-the-box

default that it originally bargained for—a far cry from a so-called “penalty.” Pls. RPFJ § IX.A. If

a distributor accepts this option, which it is not required to do, the longest possible period for

which Google would make such payments on the choice screens is one year. Pls. Br. Arg. §

I.A.1; Pls. RPFJ § IX.A; RPFOF ¶ 1217.

IV.     Google Mischaracterizes The Data Sharing And Syndication Remedies

        A.     Plaintiffs’ Data Sharing And Syndication Remedies Are Not Structural

        Google incorrectly argues that Plaintiffs’ data sharing and syndication remedies are de

facto structural remedies that confiscate “much of the value” of Google Search and therefore

must satisfy a heightened causation standard. Def. Br. §§ III.D.1, III.E.1. Plaintiffs’ initial brief

already refuted this argument. Pls. Br. Arg. § I.C.5. Only one additional argument Google raises

merits a response.

        Google suggests that, for a Microsoft Office auction proposed in New York I, the Court

there found the remedy to be structural because the expected purchaser, Red Hat, would “benefit

from Microsoft’s twenty years of heavy investment in Microsoft Office.” Def. Br. at 36 (quoting

224 F. Supp. 2d at 243). Google’s misleading quotation hides New York I’s actual concern: that

the auction had been designed “specifically” for “the benefit of . . . Red Hat.” 224 F. Supp. 2d at

243. In other words, Google repeats an earlier error, see supra § II.D.D, as the remedy was

rejected because it impermissibly “singled out [a competitor] for favorable treatment.”

Massachusetts, 373 F.3d at 1232. Plaintiffs’ remedies do no such thing.




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       B.      Plaintiffs’ Data Sharing And Syndication Remedies Will Accelerate A
               Return To Competition

       Plaintiffs’ data sharing and syndication remedies will accelerate rivals’ competitiveness

by removing scale barriers and giving rivals the inputs needed to improve their search and search

advertising products. Google takes issue with the remedies, claiming that Plaintiffs’ proposal

impermissibly allows rivals to not only “clone” or “mimic” key elements of Google Search, but

also “reverse engineer[] Google Search.” Def. Br. at 39–43. Google’s argument fails on both the

law and the facts.

       On the law, Google’s claim that Massachusetts forecloses Plaintiffs’ data sharing

remedies ignores the baseline holding. Def. Br. at 39–42. There, the D.C. Circuit affirmed a

remedy that required Microsoft to disclose its internal APIs—even APIs “beyond the

functionality of the middleware at issue in . . . liability”—as a “‘reasonable method’ of

facilitating . . . entry.” Massachusetts, 373 F.3d at 1218, 1222 (quoting Nat’l Soc’y of Prof’l

Eng’rs, 435 U.S. at 698). The remaining issue was one of degree. The New York I plaintiffs had

advanced a disclosure remedy that would have included all information needed to enable the

interoperation of “essentially any two pieces of Microsoft software on a PC.” Id. at 1219. That

“perfect interchangeability,” New York I, 224 F. Supp. 2d at 176, would have allowed the

recreation of the “full features and functionality” of Microsoft’s products. Massachusetts, 373

F.3d at 1219 n.10. It was access to “all of Microsoft’s research and development investments”

that the D.C. Circuit relied on in rejecting the states’ proposal. Id. at 1219 (emphasis added).

       As a factual matter, Plaintiffs’ remedies fundamentally differ from those rejected by New

York I and Massachusetts because they would not give rivals the full features and functionality

of Google Search and Text Ads. Pls. RPFOF ¶ 1111, 1144, 1151–52, 1169, 1181. Instead, they

are narrowly tailored to facilitate rapid entry over the scale barriers that Google unlawfully



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raised, Pls. Br. Arg. § I.C, thereby representing a “reasonable method of facilitating the entry of

competitors into a market from which [Google]’s unlawful conduct previously excluded them,”

Massachusetts, 373 F.3d at 1218 (internal quotation marks omitted). Plaintiffs’ remedies do not

require Google to share any source code or algorithms, or the technical structure Google uses to

process queries. Rivals would receive user-side data and other information that would be useless

without the extensive engineering work and competitive innovation required to identify how to

use that data to improve a search or search advertising product and to implement complex

systems to do so. See, e.g., Pls. PFOF ¶¶ 596–97; Pls. RPFOF ¶¶ 1111, 1169, 1181.

       Moreover, Plaintiffs’ remedies are purposefully designed to prevent free riding or

cloning. Pls. RPFOF ¶ 1111; Pls. PFOF ¶¶ 850–59. Plaintiffs’ index-data sharing remedy, for

example, narrowly requires Google to share information about the webpages contained in

Google’s index; not the content or “more than 2,500 proprietary annotations” associated with

each webpage. Pls. PFOF ¶¶ 596–97; Pls. RPFOF ¶¶ 1143–44; Def. PFOF ¶ 538. To succeed,

rivals will need to build out their own technology for crawling and retrieving web content, not to

mention the hardware to store and serve that content to users. Pls. PFOF ¶¶ 596–97. Rivals also

must convince webpages to allow rivals to crawl like they allow Google to because of its scale.

Pls. PFOF ¶¶ 580–81; Pls. RPFOF ¶ 1111. Similarly, the user-data sharing remedy would only

require Google to share the user-side data used to build two search components, not the complex

ranking signals used to build those systems. RPFOF ¶¶ 1151–52. Nor would the systems’

underlying technologies be disclosed pursuant to the remedies. Pls. RPFOF ¶ 1149; see also Pls.

PFOF ¶ 591. Yet another example, search syndication does not require Google to syndicate most

of its search features and rivals cannot syndicate all their queries from Google—and the amount

of syndication must decrease over time. Pls. RPFJ at 18–21. Syndication licensees, thus, will still




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need to invest considerable effort to have a marketable product that can compete with Google .

       Finally, rivals will not be able to use the shared data to train an LLM to “reverse

engineer” the “full features and functionality” of Google Search. Prof. Allan testified he did not

think it possible to reverse engineer Google’s “end-to-end” search stack, and any attempt would

“be a long slog.” RPFOF ¶ 1154.12 Rather, he was clear that what he meant by “reverse

engineer” was that rivals could train an LLM to “parrot” Google Search. Pls. RPFOF ¶ 1111. He

did not opine that such a system would be the functional equivalent of Google Search. Pls.

RPFOF ¶ 1154. Nor could he. The record shows an LLM would not create a functional substitute

for Google Search. See, e.g., Pls. PFOF ¶¶ 841–42.

       Even after all that, it remains within the Court’s discretion to adopt a remedy that

“reasonably balance[s]” bringing down unlawfully raised barriers with any consequent

“economic and technological effects.” Massachusetts, 373 F.3d at 1222. Plaintiffs’ proposal is an

“expanded but not unlimited disclosure” that does just that. Id. at 1218 (citing Nat’l Soc’y of

Prof’l Eng’rs, 435 U.S. at 698); Pls. Br. Arg. §§ I.C.2, I.C.4.

V.     Chrome’s Divestiture Benefits Competition And Consumers

       Plaintiffs’ opening brief demonstrated the availability, feasibility, and necessity of

Chrome’s divestiture. Pls. Br. Arg. § I.B. Chrome’s divestiture will open up a critical search

access point sparking a new opportunity for competition, while also preventing Google from

misusing its ownership of Chrome to circumvent this Court’s final order or attempt to maintain

practices likely to result in a recurrence of monopolization. Pls. PFOF ¶¶ 455–56, 460–64. And,



12 Google’s attempts to rely on Massachusetts’ discussion of the IE Media Bar fare no better.

The D.C. Circuit discounted that API disclosure because, by including the entirety of the
software’s “source code” and “internal architecture,” it would have allowed for a competitor to
copy Microsoft’s product as its own. Massachusetts, 373 F.3d at 1227–29. Because Plaintiffs’
proposal is not so expansive, the same concern does not arise here.

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as explained above, none of Plaintiffs’ remedies proposals are impermissibly vague. See infra

§ II.B. Google raises two further additional arguments against Chrome’s divestiture.13 Both fail.

       First, Google provides no factual or legal support for its argument that Chrome’s

divestiture would impermissibly aid a specific competitor while harming competition and

consumers. Def. Br. at 28–29. Cf. Massachusetts, 373 F.3d at 1229, 1231–32 (“[A] competitor

identifiable ex ante may benefit but not because it was singled out for favorable treatment.”). The

unmoored principle that divestiture could not aid the buyer would cut directly against the

Supreme Court’s admonition that divestiture is “the most important of antitrust remedies.”

United States v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 330–31 (1961). Here,

competition will be the beneficiary. Pls. PFOF ¶¶ 352, 448–55, 930–32. Google next retreats to

the solipsism of a monopolist—only Google can make Chrome and Chromium great. Def. Br. at

28. In support, Google principally relies on its share of contributions to the Chromium project

relative to other browser developers. Def. Br. at 28. Google misses the point. Every major

browser engine is open source. RPFOF ¶ 1064 (Apple’s WebKit, on which Safari is built, and

Mozilla’s Gecko, on which Firefox is built, are open source). Google’s assumption that a

divestiture buyer of Chrome and Chromium would act differently contradicts the market reality.



13 Google also makes several unpersuasive arguments against Plaintiffs’ proposed contingent

Android divestiture. First, Google claims that its reasons for why a Chrome divestiture should be
rejected apply equally to Android. Def. Br. at 31. However, Plaintiff s’ proposed Chrome
divestiture remedy is fundamentally different than a contingent Android divestiture. Second,
Google posits that an Android divestiture is technically unworkable. Id. at 32. But there is no
basis or need for the Court to consider market and technological conditions today for relief that
might be sought years in the future, if at all. Third, Google argues that the contingent Android
divestiture seeks to apply an “undefined standard.” Id. at 33. This argument also fails.
Section V.C of the Plaintiffs’ proposed remedies specifies the preconditions that Plaintiffs must
prove and describes a burden-shifting framework through which Google may seek to rebut
Plaintiffs’ showing. See Ball v. Paramount Pictures, 176 F.2d 426, 428–29 (3d Cir. 1949),
decree vacated on other grounds, 176 F.2d 1023 (1949); United States v. Paramount Pictures,
334 U.S. 131, 148 (1948).

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Pls. PFOF ¶ 523. Plaintiffs will review potential buyers and expect potential buyers will plan to

keep Chromium open source.

       Google’s legal argument fares no better. Its reliance on Alston is particularly misguided,

contorting the case’s holding with cherry-picked quotations. Compare Def. Br. at 28, with

Alston, 594 U.S. at 102–03. Alston’s concern was unnecessary judicial supervision of remedial

decrees, especially when a court is not equipped with a sufficient factual record to craft the

decree. 594 U.S. at 102–03, 107. This Court has a fully developed factual record that supports

the feasibility and effectiveness of a divestiture in restoring competition. See Pls. PFOF § VI. It

is the “surer, cleaner remedy.” du Pont, 366 U.S. at 334. The factual record, legal analysis, and

antitrust principles here counsel towards divestiture. See Alston, 594 U.S. at 107; see also supra

note 6 (quoting Areeda et al., Antitrust Law ¶ 653f (5th ed. 2022)). Without a divestiture of

Chrome, the behavioral interventions necessary to prevent the likely recurrence of

monopolization through misuse of a Google-owned Chrome could require more ongoing and

detailed judicial intervention. Pls. PFOF § VI.D.1.

       Second, Google argues that divesting Chrome would be “technologically complex and

value destructive.” Def. Br. at 29–30. Plaintiffs have already demonstrated Chrome can be

divested. Pls. Br. at 37–40. But Google contends that the Court should adopt no remedy that

would have “clearly negative economic consequences.” Def. Br. at 30 (quoting New York I, 224

F. Supp. 2d at 230). New York I establishes no such rule; the language that Google quotes is

merely the introductory preface to a factual finding. 224 F. Supp. 2d at 230. Even if Chrome’s

divestiture deprives Google of some value, those costs are not the deciding consideration. Rather,

as the Supreme Court explained: “Economic hardship can influence choice only as among two or

more effective remedies. If the remedy chosen is not effective, it will not be saved because an




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effective remedy would entail harsh consequences.” du Pont, 366 U.S. at 327 (citing United

States v. Am. Tobacco Co., 221 U.S. 106, 185 (1911)). Google has failed to propose a remedy

that would meaningfully address the ends that a monopolization case “must seek.” Microsoft III,

253 F.3d at 103. Because Google fails to demonstrate its own remedy would effectively restore

competition, the Court should reject any argument that the divestiture of Chrome should be

rejected in favor of an ineffective alternative. See United States v. United Tote, Inc., 768 F. Supp.

1064, 1086–87 (D. Del. 1991) (citing du Pont, 366 U.S. at 327) (applying du Pont and ordering a

divestiture because the defendant failed to offer the court a “reasonable alternative”).

VI.     Plaintiffs’ Remedy Is Tailored To The Connections Between Search And GenAI

        It is uncontested that search and GenAI products interact in critical ways. Pls. PFOF

§ II.A.2.14 Plaintiffs’ remedies ensure that (1) GenAI firms, as potential entrants and nascent

threats to search, can access the data and syndication remedies, and (2) Google GenAI products

that are search access points are covered by the distribution remedies. Such measures are tailored

to Google’s unlawful conduct and reduce barriers to entry.

        Google makes much of New York I’s discussion of handheld devices, arguing that GenAI

(like handheld devices) is neither connected to the relevant market nor the theory of liability.

Def. Br. at 61 (citing 224 F. Supp. 2d at 136, 235). But applying New York I’s logic yields the

opposite result. GenAI products have become search access points. Pls. PFOF § V.A–B. GenAI

capabilities are now part of the barriers to entering search. Pls. PFOF § II.A.1–2. And search data




14 The connection between GenAI and search justifies a standard prior-notification provision to

apply to transactions that involve GSEs and general search text ads, and to companies that
control a Search Access Point or GenAI product. Pls. PFOF ¶¶ 113 –75. Google’s citation to a
proposed notification in New York I, Def. Br. at 69, is distinguishable because that provision
went well beyond the technologies at issue in that case, encompassing virtually all possible
investments by Microsoft, 224 F. Supp. 2d at 265.

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has become a critical input into developing GenAI models and products. Pls. PFOF § II.A.1–2.

In that way, GenAI now shares an existential nexus with search, including how consumers access

the relevant market, how difficult it is to enter that market, and how valuable the fruits of

monopolizing that market are to Google. Plaintiffs have shown the relationship between GenAI

and search that requires that both be addressed in the remedy. Applying the same logic and

finding that server operating systems should be addressed alongside Intel-compatible PC

operating systems, the New York I court observed that “assistance is appropriate as it looks

toward the new model of the ‘platform threat’ and seeks to ensure that the ill effects of

Microsoft’s conduct are not felt in this related area of the industry.” 224 F. Supp. 2d at 129–30.

VII.     The Colorado Plaintiffs’ Public Education Remedy Helps Restore Competition

         The Court should also reject Google’s arguments regarding the Colorado Plaintiffs’

public education remedy. Contrary to Google’s claim, Def. Br. at 70–71, the remedy is not

“unprecedented,” see United States v. AT&T, 552 F. Supp. 131, 198–99 (D.D.C. 1982); Pls.

PFOF ¶ 971 (Prof. Luca describing other examples). Additionally, the remedy contains the

requisite “reasonable detail” to satisfy Rule 65. See supra § II.B. Prof. Luca described the

specific types of information and specific incentive payment amounts and duration required for

the remedy. Pls. PFOF ¶¶ 972, 982–83. Further details about the “practical workings” of the

remedy will be recommended by the Technical Committee for the Court’s review and approval.

Massachusetts, 373 F.3d at 1244; Phillip Morris, 566 F.3d at 1138 (affirming order describing

the “topics” of informational disclosures even though “[t]he court will determine the precise

content of the statements at a future date”). Finally, the remedy is properly connected to

Google’s unlawful conduct. Pls. PFOF ¶¶ 963–68; Mem. Op. at 35, 161, 226.

                                        CONCLUSION

         The Court should reject Google’s arguments and enter Plaintiffs’ proposed remedies.


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